Case 1:05-cv-01212-.]DT-STA Document 5 Filed 08/12/05 Page 1 04§,,§ Page|D 1
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IN THE UNITED STATES DISTR.ICT COURT FOR THE40@/ \\
WESTERN DISTRICT OF TENNESSEE 0 3

EASTERN DIVISION `

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JOYCE sANTANA v 133/5
. ’. § ”‘%Oj/%
Plam“ff= ) No. 1-05-1212-T An
VS` § JURY DEMAND
TYSON FOODS, INC. §
Defendant. §
AGREED olmER

 

As evidenced by the signatures 01` ccunsel, the parties have agreed to an enlargement of
the Defendanl's time to file its responsive pleading, necessitated by conflicts in defense counsel's
schedule For good cause shown, Defendant's Motion for An Enlargernent of Time is hereby
GRANTED.

IS SO ORDERED.

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U.S. District Court Judge 05__/2 _m

 

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KDWPR# 15730
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Ju§i\i_n,s?<eia§etr, BPR # 017079 mm nw

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Attorneys for Plaintiff

CERTIFICATE OF SERVICE

The undersigned hereby certifies that on August 1 1, 2005 a true and correct copy of
Agreed Order Was mailed, postage prepaid, to:

Justin S. Gilbert, Esq.
Michael L. Russel], Esq.,\'
Gilbert & Russell ft
2021 Greystone P k‘-_`
P.o. BOX 11357 3
Jackson, TN 383 v

 

 

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UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CV-01212 Was distributed by faX, mail, or direct printing on
August 15, 2005 to the parties listed.

 

 

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Honorable J ames Todd
US DISTRICT COURT

